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PJS:GMT:jm


           IN THE UNITED STATES DISTRICT COURT
         FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

AMARIS RAMOS AND PEDRO ARCE :
Co-Administrators of the ESTATE OF :
PEDRO ARCE, JR., and in their own :
right,                             :
                      Plantiffs,   :
       V.                          :
                                   :
THE UNITED STATES OF               : CIVIL NO.:
AMERICA,                           :
MOSES TAYLOR HOSPITAL              :
SCRANTON QUINCY HOSPITAL           :
COMPANY, LLC, MICHAEL RYAN, :
D.O., GEISINTER COMMUNITY          :
MEDICAL CENTER, GEISINGER          :
MEDICAL CENTER, GEISINGER          :
CLINIC, ANTHONY SAUTER, M.D., :
                                   :
                      Defendants   :

                       NOTICE OF REMOVAL

     AND NOW, comes Peter J. Smith, United States Attorney for the

Middle District of Pennsylvania, and G. Michael Thiel, Assistant U.S.

Attorney on behalf of Defendants, Scranton Primary Health Care

Center, Inc., and Cecilia R, Ventura, M.D., and hereby gives notice of

the removal of the above-captioned matter from the Court of Common

Pleas for Lackawanna County, Pennsylvania, to this Court, pursuant to
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Title 28, United Sates Code, Section 2679. The United States is

removing this action on the following grounds:

     1. A civil action was filed against these Defendants and others in

the Court of Common Pleas of Lackawanna County, Pennsylvania,

which was docketed at Ramos v. Ventura, et al., No. 14-CV-6590. See

complaint attached hereto as Exhibit A.

     2. The Defendants named in the action are, among others,

Scranton Primary Health Care Center, Inc., and Cecilia R, Ventura,

M.D., an employee of Scranton Primary Health Care Center, Inc. ġ

     3. Pursuant to the provisions of the Federally Supported Health

Centers Assistance Act (FSHCA) of 1992, 42 U.S.C. ' 233(g)-(n), the

United States Department of Health and Human Services has deemed

Scranton Primary Health Care Center, Inc., and Cecilia R, Ventura,

M.D., employees of the United States for purposes of the Federal Tort

Claims Act (FTCA), 28 U.S.C. '' 2671, et seq. See Deeming Letters

attached hereto as Exhibit A.




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     4. The FSHCA extends FTCA coverage to the grantees that have

been deemed covered under Section 233(h) and certain of its officers,

employees, and contractors.

     5. Section 28 U.S.C. ' 2679(d)(2) provides that upon certification

by the Attorney General that an employee of the United States was

acting within the scope of his office or employment at the time of the

incident out of which the claim arose, any civil action commenced in

state court shall be removed.

     6. The above-captioned action is one which may be removed

without bond to this Court pursuant to subsection (d)(2) of Section 2679,

Title 28, United States Code, for the reasons that (a) Plaintiff seeks a

judgment for damages resulting from the allegedly negligent or

wrongful act or omission of the Scranton Primary Health Care Center,

Inc., and Cecilia R, Ventura, M.D.; (b)they were acting within the scope

of their employment as employees of the United States when they were

alleged to have provided medical care and treatment to Plaintiff; and (c)

the remedy against the United States provided by Sections 1346(b) and

2672 of Title 28, United States Code, is therefore exclusive of any other

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civil action or proceeding against the Scranton Primary Health Care

Center, Inc., and Cecilia R, Ventura, M.D., for money damages by

reason of this lawsuit.

     7. The Attorney General has delegated certification authority to

the United States Attorneys. 28 C.F.R. ' 15.3. In turn, the United

States Attorney for the Middle District of Pennsylvania has delegated

certification authority to the Chief of the Civil Division, United States

Attorney's Office.

     8. Kate L. Mershimer, Chief, Civil Division, United States

Attorney's Office, has certified that these Defendants were acting

within the scope of their employment when they allegedly provided

medical care and treatment to Plaintiff. See Certification attached

hereto as Exhibit C.

     9. Notice of Filing this Notice of Removal has this day been

caused to be filed with the Prothonotary of the Court of Common Pleas

of Lackawanna County.




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     WHEREFORE, the United States respectfully gives notice that

the above-captioned matter is hereby removed to the United States

District Court for the Middle District of Pennsylvania.

                                        Respectfully submitted,

                                        PETER J. SMITH
                                        UNITED STATES ATTORNEY

                                        /s G. Michael Thiel
                                        G. MICHAEL THIEL
                                        Assistant U.S. Attorney
                                        Atty. I.D. #PA 72926
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                                        Scranton, PA 18501
                                        Phone 348-2800
                                        Fax: 348-2830
Dated: April 16, 2015                   E-Mail: mike.thiel@usdoj.gov




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                 CERTIFICATE OF SERVICE BY MAIL

      The undersigned hereby certifies that she is an employee in the
Office of the United States Attorney for the Middle District of
Pennsylvania, and is a person of such age and discretion as to be
competent to serve papers.

      That on April 16, 2015, she served copies of the attached:

                          NOTICE OF REMOVAL

by placing said copy in a postpaid envelope addressed to the persons
hereinafter named, at the places and addresses stated below, which is
the last known addresses, and by depositing said envelopes and
contents in the United States Mail at Scranton, Pennsylvania.

Addresses:

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                                   /s Jodi Matuszewski
                                   Jodi Matuszewski
                                   Legal Assistant




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